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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JANE DOES 1-7,                                *
                                              *
       Plaintiffs,                            *
                                              *
       v.                                     *
                                              *       Civil Action No. 1:25-cv-00234 (RDM)
OFFICE OF PERSONNEL                           *
MANAGEMENT,                                   *
                                              *
       Defendant.                             *
                                              *
*      *       *       *       *      *       *       *       *       *      *       *       *

                      PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                     MOTION TO SHORTEN SAFE HARBOR PERIOD

       In light of Defendant’s statement that it “intends to file an opposition to Plaintiffs’ Rule

22 Motion swiftly should Plaintiffs choose to file it” (Def.’s Position Pls.’ Mot. Shorten Safe

Harbor Period, Dkt. #25 (filed Feb. 25, 2025)), Plaintiffs respectfully request that the Court

authorize them to file their motion for sanctions at their earliest convenience and not wait until

Friday evening. Defendant has indicated that it will not comply with the motion as envisioned by

Rule 11(c)(2), and so there is no longer any reason to delay the briefing and resolution of a

sanctions motion.
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Date: February 25, 2025

                                     Respectfully submitted,

                                      /s/ Kelly B. McClanahan
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